
On consent, order of the Surrogate’s Court of Queens county appointing a temporary administrator reversed on the law and the facts, with ten dollars costs and disbursements to appellant, payable out of the estate, and motion denied, with ten dollars costs, on condition that within ten days from the entry of the order herein appellant deposit with the clerk of the Surrogate’s Court all of the property in her hands which she concedes belongs to the estate and also all other property in her hands to which she lays claim but which respondents claim belongs to the estate. In the event that the condition be not complied with, the order is affirmed, with ten dollars costs and disbursements to respondents, payable out of the estate. Lazansky, P. J., Young, Kapper, Carswell and Tompkins, JJ., concur.
